                      IN THE UNITED STATES DISTRICT COURT
                          WESERN DISTRICT OF MISSOURI

LAURA RUSHASI                                  )
    Plaintiff                                  )
                                               )
VS.                                            )   Case No. 6:17-cv-3299
                                               )
CHECK INTO CASH OF MISSOURI, INC.              )
    Defendant                                  )

                             DISMISSAL WITH PREJUDICE

PLAINTIFF, by counsel, hereby dismisses the above matter with prejudice, with parties to bear
their own costs.

                                                      LAMPERT LAW OFFICE, LLC

                                                      By:/s/ Raymond Lampert___________
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